 

Case 4:22-cr-00035-Y prot Paget 236

NORTHERN DISTRICT OF TEXAS

FILED
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Gnited States District Court
Northern District of Texas

Fort Worth Division
October 20, 2022

William McGlothlin #77600-509
FMC Fort Worth

Federal Medical Center

P.O. Box 15330

Fort Worth, TX 76119

Re: Your correspondence received in the U.S. District Clerk’s Office on October 20, 2022
Case No./Style: 4:22-cr-00035-Y-2

William McGlothlin,

Enclosed is a courtesy copy of your docket sheet. Copies of docket sheets and/or documents
require a prepayment of the copy expense, currently $0.50 per page. Certification of copies is an
additional $11.00 per document. Any future request for document production will require a
prepayment of the copy fee. If you wish to receive any documents, please identify which one(s)
so that we can send you a cost estimate,

The Clerk's Office is not authorized to provide the Statement of Reasons page in your judgment.
However, the document may be available for you to view it in your unit; please contact your
Bureau of Prisons counselor to make an appointment.

Sincerely,

Deputy Clerk - SAW
